CM/ECF-GA Northern District Court                                       https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?44774742346568...
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                                            1:14-md-02583-TWT
                    In Re: The Home Depot, Inc., Customer Data Security Breach Litigation
                                     Honorable Thomas W. Thrash, Jr.

                                    Minute Sheet for proceedings held In Open Court on 10/21/2016.


               TIME COURT COMMENCED: 2:07 P.M.
               TIME COURT CONCLUDED: 3:08 P.M.                        COURT REPORTER: Susan Baker
               TIME IN COURT: 1:01                                    DEPUTY CLERK: Sheila Sewell
               OFFICE LOCATION: Atlanta

         ATTORNEY(S)                  David Worley, Norman Siegel, Cam Tribble representing plaintiffs
         PRESENT:                     Phyllis Sumner Steward Haskins representing Home Depot
                                      Sam Miorelli, pro se objector


         PROCEEDING
                                      Motion Hearing(Other Evidentiary Hearing-Contested);
         CATEGORY:
         MOTIONS RULED                [292]MOTION for Appeal under 1292(b) GRANTED IN PART &
         ON:                          DENIED IN PART

         MINUTE TEXT:                 The Court heard argument on plaintiffs' Motion which was granted in part
                                      and denied in part for reasons stated on the record. Mr. Miorelli shall file a
                                      cash or approved corporate appeal bond in the amount of $1,100.00 within
                                      10 days. Mr. Worley to prepare order for the Court's signature. Mr.
                                      Miorelli called to testify regarding his financial declaration. The Court
                                      ordered Mr. Miorelli to provided to plaintiffs' counsel the two most recent
                                      quarterly reports from both his ROTH 401K and IRA accounts within 10
                                      days and to file his supplemental declaration UNDER SEAL.
         HEARING STATUS:              Hearing Concluded




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